         Case 17-31646 Document 652 Filed in TXSB on 11/30/17 Page 1 of 6



                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                      *
                                            *       CASE NO. 17-31646
MONTCO OFFSHORE, INC., et al.,              *
                                            *       Chapter 11
              DEBTORS.                      *
                                            *       (Jointly Administered)
                                            *

    ALLIANCE ENERGY SERVICES, LLC’S AND ALLIANCE OFFSHORE, LLC’S
                   WITNESS LIST AND EXHIBIT LIST

                                    [Related to Docs. 637]

       Alliance Energy Services, LLC and Alliance Offshore, LLC (collectively, “Alliance”)

submit the following witness list and exhibit list for the hearing scheduled on Monday, December

3, 2017 at 3:00 p.m. in the above captioned bankruptcy case before the Honorable Marvin Isgur,

United States Bankruptcy Judge for the Southern District of Texas, Houston Division, Courtroom

404, 515 Rusk Avenue, Houston, Texas 77002 on Debtors’ Emergency Motion of Debtor Montco

Offshore, Inc. for an Order (I) Approving (A) Bidding Procedures Governing Submission and

Consideration of Competing Transactions, (B) Bid Protections, (C) Form and Manner of Notice

of Sale Transaction and Sale Hearing, and (D) Assumption and Assignment Procedures for any

Transferred Contracts; (II) (A) Scheduling and Authorizing Debtor to Conduct an Auction

Pursuant to the Bidding Procedures, and (B) Authorizing Debtor to Enter into the Purchase

Agreement to Implement the Bidding Protections; (III) Authorizing (A) the Sale of the Purchased

Assets Free and Clear of All Liens, Claim, Encumbrances, and Other Interests, and (B) the

Assumption and Assignment of Any Transferred Contracts, and (IV) Granting Related Relief.




                                                1
        Case 17-31646 Document 652 Filed in TXSB on 11/30/17 Page 2 of 6



                                ALLIANCE’S WITNESS LIST

1.     Eric Trosclair;

2.     Chris Winger;

3.     Steve Williams;

4.     Derek Boudreaux;

5.     Lee Orgeron;

6.     Michael Boone;

7.     Any designated corporate representative(s) of Debtors, Montco Offshore, Inc. (“MOI”) or
       Montco Oilfield Contractors, LLC (“MOC”);

8.     Any witness listed, identified, offered, or called by any other party; and

9.     Any witness required for rebuttal or impeachment

                                ALLIANCE’S EXHIBIT LIST

 Ex.                  Description                 Offered   Objection     Admitted/     Disposition
 #                                                                       Not Admitted
 1.    Order (I) Approving Term Sheet with
       Seacor Liftboat Holdings, LLC in
       Connection with Proposed Transaction
       to Act as Sponsor of Debtor Montco
       Offshore, Inc.’s Plan of Reorganization;
       (II) Approving Bidding Procedures
       Governing         Submission        and
       Consideration of Competing Plan
       Sponsorship Proposals; (III) Approving
       Break-Up Fee; (IV Scheduling and
       Authorizing Debtor Montco Offshore,
       Inc. to Conduct an Auction Pursuant to
       Such Procedures; (V) Approving the
       Form and Manner of Notice Thereof and
       (VI) Granting Related Relief [Doc. 394]
 2.    Term Sheet: Summary of Principal
       Terms of Formation of Falcon Global
       Holdings, LLC [Doc. 302-2];
 3.    Interim Order (I) Authorizing Debtors to
       Obtain Post-Petition Superpriority
       Financing from JPMorgan Chase Bank,

                                                  2
       Case 17-31646 Document 652 Filed in TXSB on 11/30/17 Page 3 of 6



      N.A., (II) Authorizing Use of Cash
      Collateral, (III) Granting Adequate
      Protection, (IV) Scheduling a Final
      Hearing, and (V) Granting Certain
      Related Relief [Doc. 68]
4.    Second Interim Order (I) Authorizing
      Debtors to Obtain Post-Petition
      Superpriority Financing from JPMorgan
      Chase Bank, N.A., (II) Authorizing Use
      of Cash Collateral, (III) Granting
      Adequate Protection, (IV) Scheduling a
      Final Hearing, and (V) Granting Certain
      Related Relief [Doc. 142]
5.    Interim Order (I) Authorizing Debtors to
      Obtain Post-Petition Secured Financing,
      (II) Authorizing Use of Cash Collateral,
      (III) Granting Adequate Protection, (IV)
      Scheduling A Final Hearing, and (V)
      Granting Certain Related Relief [Doc.
      188]
6.    Final Order (I) Authorizing Debtors to
      Obtain Post-Petition Superpriority
      Secured Financing, (II) Authorizing Use
      of Cash Collateral, (III) Granting
      Adequate Protection, and (IV) Granting
      Certain Related Relief [Doc. 256]
7.    Alliance Offshore, LLC’s Proof of
      Claim: MOI, with exhibits [Claim 154]
8.    Alliance Offshore, LLC’s Proof of
      Claim: MOC, with exhibits [Claim 155]
9.    Alliance Energy Services, LLC’s Proof
      of Claim: MOI, with exhibits [Claim
      156]
10.   Alliance Energy Services, LLC’s Proof
      of Claim: MOC, with exhibits [Claim
      157]
11.   Oct. 19, 2017 Email Re: Montco
      Bankruptcy – Alliance’s Discovery
      Requests to Debtors
12.   Oct. 27, 2017 Email Re: Montco –
      Debtors’ Responses to Alliance’s
      Discovery Requests
13.   Oct. 28th Email Re: Non Disclosure
      Agreement



                                                 3
      Case 17-31646 Document 652 Filed in TXSB on 11/30/17 Page 4 of 6



14. Oct. 28, 2017 Email Re: Data Room
    Access Granted – Houlihan Lokey –
    Project Blue
15. Nov. 6, 2017 Email Re: Data Room
    Access Granted – Houlihan Lokey –
    Project Blue
16. Joint Venture Contribution and
    Formation Agreement by and between
    Seacor LB Holdings LLC and Montco
    Offshore, Inc. dated August 10, 2017
17. Global Notes, Methodology, and
    Specific Disclosures Regarding the
    Debtors’ Schedules of Assets and
    Liabilities and Statements of Financial
    Affairs (MOI Schedules) [Doc. 157]
18. Global Notes, Methodology, and
    Specific Disclosures Regarding the
    Debtors’ Schedules of Assets and
    Liabilities and Statements of Financial
    Affairs (MOC Schedules) [Doc. 158]
19. January 6, 2017 Appraisal of the L/B
    Paul
20. January 20, 2017 Appraisal of the L/B
    Robert
21. January 22, 2017 Appraisals of the L/Bs
    Jill, Kayd, Myrtle, and Caitlin
25. Joint Venture Term Sheet—Milbank
    Draft April 12, 2017
26. Joint Venture Term Sheet—DLA Draft
    May 9, 2017
27. Joint Venture Term Sheet—Milbank
    Draft May 11, 2017
28. Black Elk Contract
29. Joint Venture Term Sheet (Execution
    Version)
30. Project Blue Summary Spreadsheets
31. Montco-Working Estimates
    Spreadsheets [BHP_0006040]
32. Montco Overbid Calculation Option
    Value 2017.07.12 1130
33. Montco       P/L     Statement     2016
    [BHP_0005185]
34. February       24,      2017     Email
    [BHP_0005487-0005489]
35. UCC Request List #10 – Executive &
    Director Salary [BHP_0002713]

                                              4
      Case 17-31646 Document 652 Filed in TXSB on 11/30/17 Page 5 of 6



36. Montco Offshore Vessel Value
    [BHP_0001287]
37. Orgeron          Promissory         Note
    [BHP_0001047]
38. Consolidated Financial Statements and
    Supplementary       Information     dated
    December 31, 2015 [BHP_0000990-
    0001016]
39. Blackhill Partners Presentation to
    Montco Offshore Bank Syndicate dated
    May 31, 2017 [BHP_0000266-
    0000287]
40. Blackhill’s Project Blue Executive
    Summary – Spring 2017
    [BHP_0000128]
41. Emergency Motion of Debtor Montco
    Offshore, Inc. for an Order (I)
    Approving (A) Bidding Procedures
    Governing Submission and
    Consideration of Competing
    Transactions, (B) Bid Protections, (C)
    Form and Manner of Notice of Sale
    Transaction and Sale Hearing, and (D)
    Assumption and Assignment
    Procedures for any Transferred
    Contracts; (II) (A) Scheduling and
    Authorizing Debtor to Conduct an
    Auction Pursuant to the Bidding
    Procedures, and (B) Authorizing
    Debtor to Enter into the Purchase
    Agreement to Implement the Bidding
    Protections; (III) Authorizing (A) the
    Sale of the Purchased Assets Free and
    Clear of All Liens, Claim,
    Encumbrances, and Other Interests, and
    (B) the Assumption and Assignment of
    Any Transferred Contracts, and (IV)
    Granting Related Relief [Doc. 637]
    with exhibits including Doc. 645
42. Nov. 30, 2017 Email Re: Montco –
    Non-Disclosure Agreement
43. Alliance’s Second Request for
    Production of Documents and Second
    Set of Interrogatories



                                                5
          Case 17-31646 Document 652 Filed in TXSB on 11/30/17 Page 6 of 6



         Alliance reserves the right to modify, amend, or supplement this Witness List and Exhibit

List at any time prior to the December 4, 2017 hearing. Alliance also reserves the right to ask the

Court to take judicial notice of the pleadings, transcripts, and/or documents filed in or in

connection with the Bankruptcy Case, to offer rebuttal exhibits, and to offer demonstrative

exhibits. Designation of any exhibit or witness above does not waive any objections Alliance may

have to any exhibit listed or witness identified on any other party’s witness list or exhibit list.

         Dated: November 30, 2017.             Respectfully submitted,

                                               CARVER, DARDEN, KORETZKY, TESSIER
                                               FINN, BLOSSMAN & AREAUX, L.L.C.

                                               /s/ David F. Waguespack
                                               DAVID F. WAGUESPACK
                                               La. Bar Roll No. 21121
                                               Admitted Pro Hac Vice [Doc. 85]
                                               waguespack@carverdarden.com
                                               BRANDON T. DARDEN
                                               State Bar No. 24075614
                                               Fed. ID No. 1339565
                                               bdarden@carverdarden.com
                                               1100 Poydras Street, Suite 3100
                                               New Orleans, Louisiana 70163
                                               Telephone: (504) 585-3814
                                               Fax: (504) 585-3801

                                               Attorneys for Alliance Energy Services, LLC
                                               and Alliance Offshore, LLC

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 30, 2017, a true and correct copy of this document

was filed with the Court using the CM/ECF System, which provided electronic notice to all parties

in the bankruptcy case requesting such notice.



                                               /s/ Brandon T. Darden
                                               BRANDON T. DARDEN
4842-0365-5255, v. 1


                                                   6
